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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

  511 INNOVATIONS, INC.,                         §
                                                 §
         Plaintiff,                              §
                                                 §   Civil Action No. 2:15-cv-1526-JRG-RSP
  v.                                             §
                                                 §
  SAMSUNG TELECOMMUNICATIONS                     §         JURY TRIAL DEMANDED
  AMERICA, LLC., et al.,                         §
                                                 §
         Defendants.                             §


              FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT


         COMES NOW Plaintiff 511 Innovations, Inc. (“511 Innovations”) and files this First

  Amended Complaint for Patent Infringement against Defendants Samsung Electronics America,

  Inc. and Samsung Electronics Co., Ltd. (collectively the “Samsung Defendants”); Huawei

  Device USA Inc. (“Huawei”); ZTE (USA) Inc. (“ZTE”); and AMS-TAOS USA Inc. (formerly

  known as Texas Advanced Optoelectronics Solutions, Inc.) and ams AG (collectively the “AMS

  Defendants”), alleging as follows:

                                    I. NATURE OF THE SUIT

         1.      This is a claim for patent infringement arising under the patent laws of the United

  States, Title 35 of the United States Code.

                                          II. THE PARTIES

         2.      Plaintiff 511 Innovations, Inc. is a Texas corporation that maintains its principal

  place of business in Marshall, Texas.
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          3.      Defendant Samsung Electronics America, Inc. is a New York corporation that

  does business in Texas, directly or through intermediaries, and maintains its principal place of

  business in Ridgefield Park, New Jersey.

          4.      Defendant Samsung Electronics Co., Ltd. is a Korean company that does

  business in Texas, directly or through intermediaries, and maintains its principal place of

  business in Seoul, Korea.

          5.      Defendant Huawei Device USA Inc. is a Texas corporation that does business in

  Texas and maintains its principal place of business in Plano, Texas.

          6.      Defendant ZTE (USA) Inc. is a New Jersey corporation that does business in

  Texas and maintains its principal place of business in Richardson, Texas.

          7.      Defendant AMS-TAOS USA Inc. (“AMS-TAOS”) is a Nevada corporation that

  does business in Texas and maintains its principal place of business in Plano, Texas.

          8.      Defendant AMS-TAOS USA Inc. is formerly known as Texas Advanced

  Optoelectronics Solutions, Inc.

          9.      Defendant ams AG is an Austrian company that does business in Texas, directly

  or through intermediaries, and maintains its principal place of business in Unterpremstaetten,

  Austria.

                                   III. JURISDICTION AND VENUE

          10.     This action arises under the patent laws of the United States, Title 35 of the

  United States Code. Thus, this Court has subject matter jurisdiction pursuant to 28 U.S.C.

  §§ 1331 and 1338(a).




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          11.     This Court has general personal jurisdiction over Defendant Huawei Device USA

  Inc. by virtue of Huawei Device USA Inc.’s incorporation in this State and also by virtue of

  Huawei Device USA Inc. maintaining its principal place of business in this State.

          12.     This Court has general personal jurisdiction over Defendant ZTE (USA) Inc. by

  virtue of ZTE (USA) Inc. maintaining its principal place of business in this State.

          13.     This Court has general personal jurisdiction over Defendant AMS-TAOS by

  virtue of AMS-TAOS maintaining its principal place of business in this State.

          14.     This Court has specific personal jurisdiction over all Defendants pursuant to due

  process and the Texas Long Arm Statute because each Defendant, directly or through

  intermediaries, has conducted and does conduct substantial business in this forum, such

  substantial business including but not limited to: (i) at least a portion of the infringements

  alleged herein; (ii) purposefully and voluntarily placing one or more infringing products or

  services into the stream of commerce with the expectation that they will be purchased by

  consumers in this forum; or (iii) regularly doing or soliciting business, engaging in other

  persistent courses of conduct, or deriving substantial revenue from goods and services provided

  to individuals in Texas and in this District.

          15.     Venue is proper in this Court under 28 U.S.C. §§ 1391(b)-(d) and 1400(b) for the

  reasons set forth above. Furthermore, venue is proper because each Defendant, directly or

  through intermediaries, sells and offers to sell infringing products to persons in this District, as

  discussed below. Each of Defendants’ infringing acts in this District gives rise to proper venue.




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                                           IV. BACKGROUND

  A.      The Asserted Patents

          16.     This cause of action asserts infringement of United States Patent Nos.

  6,307,629 B1; 6,490,038 B1; 7,113,283 B2; 6,915,955 B2; 7,110,096 B2; 7,397,541 B2;

  8,472,012 B2; and 8,786,844 B2 (collectively, the “Asserted Patents”).

          17.     A true and correct copy of United States Patent No. 6,307,629 B1 (the “’629

  Patent”), entitled “Apparatus and Method for Measuring Optical Characteristics of an Object,” is

  attached hereto as Exhibit A.

          18.     511 Innovations is the current owner by assignment of all rights, title, and interest

  in and under the ’629 Patent, which duly and legally issued on October 23, 2001, with Wayne D.

  Jung, Russell W. Jung, and Alan R. Loudermilk as the named inventors. 511 Innovations has

  standing to sue for infringement of the ’629 Patent.

          19.     A true and correct copy of United States Patent No. 6,490,038 B1 (the “’038

  Patent”), entitled “Apparatus and Method for Measuring Optical Characteristics of an Object,” is

  attached hereto as Exhibit B.

          20.     511 Innovations is the current owner by assignment of all rights, title, and interest

  in and under the ’038 Patent, which duly and legally issued on December 3, 2002, with Wayne

  D. Jung, Russell W. Jung, and Alan R. Loudermilk as the named inventors. 511 Innovations has

  standing to sue for infringement of the ’038 Patent.

          21.     A true and correct copy of United States Patent No. 7,113,283 B2 (the “’283

  Patent”), entitled “Apparatus and Method for Measuring Color,” is attached hereto as Exhibit C.

          22.     511 Innovations is the current owner by assignment of all rights, title, and interest

  in and under the ’283 Patent, which duly and legally issued on September 26, 2006, with Wayne



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  D. Jung, Russell W. Jung, and Alan R. Loudermilk as the named inventors. 511 Innovations has

  standing to sue for infringement of the ’283 Patent.

          23.     A true and correct copy of United States Patent No. 6,915,955 B2 (the “’955

  Patent”), entitled “Apparatus for Determining Multi-Bit Data via Light Received by a Light

  Receiver and Coupled to Spectral Sensors That Measure Light in Spectral Bands,” is attached

  hereto as Exhibit D.

          24.     511 Innovations is the current owner by assignment of all rights, title, and interest

  in and under the ’955 Patent, which duly and legally issued on July 12, 2005, with Wayne D.

  Jung, Russell W. Jung, and Alan R. Loudermilk as the named inventors. 511 Innovations has

  standing to sue for infringement of the ’955 Patent.

          25.     A true and correct copy of United States Patent No. 7,110,096 B2 (the “’096

  Patent”), entitled “Method for Determining Optical Characteristics Through a Protective

  Barrier,” is attached hereto as Exhibit E.

          26.     511 Innovations is the current owner by assignment of all rights, title, and interest

  in and under the ’096 Patent, which duly and legally issued on September 19, 2006, with Wayne

  D. Jung, Russell W. Jung, and Alan R. Laudermilk [sic] as the named inventors.                   511

  Innovations has standing to sue for infringement of the ’096 Patent.

          27.     A true and correct copy of United States Patent No. 7,397,541 B2 (the “’541

  Patent”), entitled “Apparatus and Method for Measuring Optical Characteristics of an Object,” is

  attached hereto as Exhibit F.

          28.     511 Innovations is the current owner by assignment of all rights, title, and interest

  in and under the ’541 Patent, which duly and legally issued on July 8, 2008, with Wayne D.




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  Jung, Russell W. Jung, and Alan R. Loudermilk as the named inventors. 511 Innovations has

  standing to sue for infringement of the ’541 Patent.

          29.     A true and correct copy of United States Patent No. 8,472,012 B2 (the “’012

  Patent”), entitled “Apparatus Having a First Optical Sensor Making a First Measurement to

  Detect Position and a Second Optical Sensor Making a Second Measurement,” is attached hereto

  as Exhibit G.

          30.     511 Innovations is the current owner by assignment of all rights, title, and interest

  in and under the ’012 Patent, which duly and legally issued on June 25, 2013, with Wayne D.

  Jung, Russell W. Jung, and Alan R. Loudermilk as the named inventors. 511 Innovations has

  standing to sue for infringement of the ’012 Patent.

          31.     A true and correct copy of United States Patent No. 8,786,844 B2 (the “’844

  Patent”), entitled “Apparatus for Measuring Optical Characteristics Including Position

  Detection,” is attached hereto as Exhibit H.

          32.     511 Innovations is the current owner by assignment of all rights, title, and interest

  in and under the ’844 Patent, which duly and legally issued on July 22, 2014, with Wayne D.

  Jung, Russell W. Jung, and Alan R. Loudermilk as the named inventors. 511 Innovations has

  standing to sue for infringement of the ’844 Patent.

  B.      The Samsung Defendants

          33.     The Samsung Defendants, directly or through intermediaries, make, use, sell, or

  offer to sell within the United States, or import into the United States, mobile telephones,

  including but not limited to the Samsung Galaxy Note 4 (the “Samsung Accused Products”).




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          34.     The Samsung Defendants, directly or through intermediaries, purposefully and

  voluntarily place the Samsung Accused Products into the stream of commerce with the

  expectation that they will be purchased by consumers in this District.

          35.     The Samsung Accused Products are sold and offered for sale in this District.

  C.      Huawei

          36.     Huawei, directly or through intermediaries, makes, uses, sells, or offers to sell

  within the United States, or imports into the United States, mobile telephones, including but not

  limited to the Huawei Ascend Mate 2 (the “Huawei Accused Products”).

          37.     Huawei, directly or through intermediaries, purposefully and voluntarily places

  the Huawei Accused Products into the stream of commerce with the expectation that they will be

  purchased by consumers in this District.

          38.     The Huawei Accused Products are sold and offered for sale in this District.

  D.      ZTE

          39.     ZTE, directly or through intermediaries, makes, uses, sells, or offers to sell within

  the United States, or imports into the United States, mobile telephones, including but not limited

  to the ZTE ZMAX (the “ZTE Accused Products”).

          40.     ZTE, directly or through intermediaries, purposefully and voluntarily places the

  ZTE Accused Products into the stream of commerce with the expectation that they will be

  purchased by consumers in this District.

          41.     The ZTE Accused Products are sold and offered for sale in this District.

  E.      The AMS Defendants

          42.     The Samsung Accused Products, the Huawei Accused Products, and the ZTE

  Accused Products incorporate light sensors, including but not limited to TMG3992 and



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  TMD2771 sensors, that are made and/or sold, directly or through intermediaries, by the AMS

  Defendants (the “AMS Accused Products”).

          43.      By making and/or selling the AMS Accused Products for inclusion in the

  Samsung Accused Products, the Huawei Accused Products, and the ZTE Accused Products, the

  AMS Defendants, directly or through intermediaries, purposefully and voluntarily place the

  AMS Accused Products into the stream of commerce with the expectation that they will be

  purchased by consumers in this District.

  F.      JJL and Spectral Sensors

          44.      From July 27, 2007, through September 12, 2013, JJL Technologies, LLC (“JJL”)

  was the owner by assignment of the then-existing Asserted Patents and their families, including

  related then-pending applications.

          45.      JJL acquired the Asserted Patents and their families from LJ Laboratories LLC,

  an entity that had been formed to protect inventions resulting from research conducted by or on

  behalf of JJL.

          46.      JJL was a pioneer in low-cost, handheld color measurement and optical sensing

  technologies and products. JJL conceived, developed, produced, and sold its own products,

  which included world market-leading spectrophotometers for measuring teeth, skin, and other

  materials.

          47.      JJL’s inventions have resulted in over eighty patents throughout the world. These

  patents include systems and methods for measuring multiple optical properties and for detecting

  position through transparent barriers.

          48.      In 2013, JJL transferred its intellectual property, including the Asserted Patents

  and their families, to 511 Innovations, which in turn licensed that intellectual property to Spectral



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  Sensors Inc. (“Spectral Sensors”), a Texas corporation having its principal place of business in

  Marshall, Texas, to continue research, development, and manufacturing of optical sensing

  products. Since that time, Spectral Sensors has conducted such activities in Marshall, Texas.

          49.     At all relevant times, JJL and Spectral Sensors have complied with the marking

  requirements set forth in 35 U.S.C. § 287.

  G.      The AMS Defendants’ Dealings with JJL and Spectral Sensors

          50.     Since AMS-TAOS’s formation in the 1990s, and subsequent to its acquisition by

  ams AG in 2011, AMS-TAOS has sold optical sensors, including light-to-frequency-converter-

  based sensors, to JJL and/or Spectral Sensors for use in JJL’s and Spectral Sensors’s products.

          51.     JJL and Spectral Sensors used the optical sensors purchased from AMS-TAOS to

  conduct research and development and to make optical measurement products.

          52.     JJL’s and Spectral Sensors’s research and product development included

  integrating filters with light-to-frequency-converter-based sensors purchased from AMS-TAOS

  to make cost-effective optical sensing technologies that could be incorporated into handheld

  devices such as JJL’s and Spectral Sensors’s spectrophotometers.

          53.     JJL’s and Spectral Sensors’s modification and use of the optical sensors

  purchased from AMS-TAOS incorporate principles taught by the Asserted Patents.

          54.     Recognizing the value and contributions of JJL, over numerous years and as

  recently as 2012, the AMS Defendants engaged JJL in discussions concerning the AMS

  Defendants potentially acquiring JJL.

          55.     As part of the discussions concerning the AMS Defendants’ potential acquisition

  of JJL, JJL disclosed to the AMS Defendants the existence and contents of JJL’s patents,

  including the Asserted Patents.



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          56.     Upon information and belief, the AMS Defendants had further knowledge of

  JJL’s patents, including the Asserted Patents, based on information it received from other

  customers of AMS-TAOS and ams AG.

          57.     As part of the discussions concerning the AMS Defendants’ potential acquisition

  of JJL, JJL also disclosed to the AMS Defendants technical know-how and benefits concerning

  customizing light-to-frequency converter-based products using optical filters, as taught and

  claimed by the Asserted Patents.

                              V. CLAIMS – SAMSUNG DEFENDANTS

          58.     Based on the above-described services and products, 511 Innovations asserts

  several causes of action against the Samsung Defendants. These causes of action are detailed as

  follows.

  A.      Infringement of the ’629 Patent

          59.     The allegations of paragraphs 1-58 above are incorporated by reference as if fully

  set forth herein.

          60.     The Samsung Accused Products are covered by at least claim 1 of the ’629 Patent.

          61.     The Samsung Defendants have directly infringed and continue to infringe at least

  claim 1 of the ’629 Patent in violation of 35 U.S.C. § 271(a) by, directly or through

  intermediaries and without 511 Innovations’s authority, making, using, selling, or offering to sell

  the Samsung Accused Products in the United States, or importing the Samsung Accused

  Products into the United States.

          62.     Further and in the alternative, at least since the filing and service of the Original

  Complaint for Patent Infringement in this action, the Samsung Defendants have been and now

  are actively inducing infringement of at least claim 1 of the ’629 Patent in violation of 35 U.S.C.



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  § 271(b). Users of the Samsung Accused Products directly infringe at least claim 1 of the ’629

  Patent when they use the Samsung Accused Products in the ordinary, customary, and intended

  way, implicating use of the AMS Accused Products within the Samsung Accused Products. The

  Samsung Defendants’ inducements include, without limitation and with specific intent to

  encourage the infringement, knowingly inducing consumers to use the Samsung Accused

  Products within the United States in the ordinary, customary, and intended way that implicates

  use of the AMS Accused Products within the Samsung Accused Products by supplying the

  Samsung Accused Products to consumers within the United States and by instructing such

  consumers (for example in instruction manuals that the Samsung Defendants provide online or

  with the Samsung Accused Products) how to use the Samsung Accused Products in the ordinary,

  customary, and intended way, implicating use of the AMS Accused Products within the Samsung

  Accused Products, which the Samsung Defendants know or should know infringes at least claim

  1 of the ’629 Patent.

          63.     Further and in the alternative, at least since the filing and service of the Original

  Complaint for Patent Infringement in this action, the Samsung Defendants have been and now

  are actively contributing to infringement of at least claim 1 of the ’629 Patent in violation of 35

  U.S.C. § 271(c). Samsung installs, configures, and sells the Samsung Accused Products with

  distinct hardware and software components, including but not limited to the AMS Accused

  Products, that are especially made or especially adapted to practice the invention claimed in at

  least claim 1 of the ’629 Patent. The AMS Accused Products within the Samsung Accused

  Products constitute a material part of the claimed invention recited in at least claim 1 of the ‘629

  Patent and not a staple article or commodity of commerce because they are specifically designed

  to perform the functionality claimed in at least claim 1 of the ’629 Patent. Any other use of the



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  AMS Accused Products within the Samsung Accused Products would be unusual, far-fetched,

  illusory, impractical, occasional, aberrant, or experimental.          The Samsung Defendants’

  contributions include, without limitation, offering to sell and/or selling within the United States,

  and/or importing into the United States, the Samsung Accused Products, which include the AMS

  Accused Products, knowing the AMS Accused Products to be especially made or especially

  adapted for use in an infringement of at least claim 1 of the ‘629 Patent, and not a staple article

  or commodity of commerce suitable for substantial noninfringing use.

  B.        Infringement of the ’038 Patent

            64.   The allegations of paragraphs 1-63 above are incorporated by reference as if fully

  set forth herein.

            65.   The Samsung Accused Products are covered by at least claim 127 of the ’038

  Patent.

            66.   The Samsung Defendants have directly infringed and continue to infringe at least

  claim 127 of the ’038 Patent in violation of 35 U.S.C. § 271(a) by, directly or through

  intermediaries and without 511 Innovations’s authority, making, using, selling, or offering to sell

  the Samsung Accused Products in the United States, or importing the Samsung Accused

  Products into the United States.

            67.   Further and in the alternative, at least since the filing and service of the Original

  Complaint for Patent Infringement in this action, the Samsung Defendants have been and now

  are actively inducing infringement of at least claim 127 of the ’038 Patent in violation of 35

  U.S.C. § 271(b). Users of the Samsung Accused Products directly infringe at least claim 127 of

  the ’038 Patent when they use the Samsung Accused Products in the ordinary, customary, and

  intended way, implicating use of the AMS Accused Products within the Samsung Accused



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  Products. The Samsung Defendants’ inducements include, without limitation and with specific

  intent to encourage the infringement, knowingly inducing consumers to use the Samsung

  Accused Products within the United States in the ordinary, customary, and intended way that

  implicates use of the AMS Accused Products within the Samsung Accused Products by

  supplying the Samsung Accused Products to consumers within the United States and by

  instructing such consumers (for example in instruction manuals that the Samsung Defendants

  provide online or with the Samsung Accused Products) how to use the Samsung Accused

  Products in the ordinary, customary, and intended way, implicating use of the AMS Accused

  Products within the Samsung Accused Products, which the Samsung Defendants know or should

  know infringes at least claim 127 of the ’038 Patent.

          68.     Further and in the alternative, at least since the filing and service of the Original

  Complaint for Patent Infringement in this action, the Samsung Defendants have been and now

  are actively contributing to infringement of at least claim 127 of the ’038 Patent in violation of

  35 U.S.C. § 271(c). Samsung installs, configures, and sells the Samsung Accused Products with

  distinct hardware and software components, including but not limited to the AMS Accused

  Products, that are especially made or especially adapted to practice the invention claimed in at

  least claim 127 of the ’038 Patent. The AMS Accused Products within the Samsung Accused

  Products constitute a material part of the claimed invention recited in at least claim 127 of the

  ’038 Patent and not a staple article or commodity of commerce because they are specifically

  designed to perform the functionality claimed in at least claim 127 of the ’038 Patent. Any other

  use of the AMS Accused Products within the Samsung Accused Products would be unusual, far-

  fetched, illusory, impractical, occasional, aberrant, or experimental. The Samsung Defendants’

  contributions include, without limitation, offering to sell and/or selling within the United States,



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  and/or importing into the United States, the Samsung Accused Products, which include the AMS

  Accused Products, knowing the AMS Accused Products to be especially made or especially

  adapted for use in an infringement of at least claim 127 of the ’038 Patent, and not a staple article

  or commodity of commerce suitable for substantial noninfringing use.

  C.      Infringement of the ’283 Patent

          69.     The allegations of paragraphs 1-68 above are incorporated by reference as if fully

  set forth herein.

          70.     The Samsung Accused Products are covered by at least claim 1 of the ’283 Patent.

          71.     The Samsung Defendants have directly infringed and continue to infringe at least

  claim 1 of the ’283 Patent in violation of 35 U.S.C. § 271(a) by, directly or through

  intermediaries and without 511 Innovations’s authority, making, using, selling, or offering to sell

  the Samsung Accused Products in the United States, or importing the Samsung Accused

  Products into the United States.

          72.     Further and in the alternative, at least since the filing and service of the Original

  Complaint for Patent Infringement in this action, the Samsung Defendants have been and now

  are actively inducing infringement of at least claim 1 of the ’283 Patent in violation of 35 U.S.C.

  § 271(b). Users of the Samsung Accused Products directly infringe at least claim 1 of the ’283

  Patent when they use the Samsung Accused Products in the ordinary, customary, and intended

  way, implicating use of the AMS Accused Products within the Samsung Accused Products. The

  Samsung Defendants’ inducements include, without limitation and with specific intent to

  encourage the infringement, knowingly inducing consumers to use the Samsung Accused

  Products within the United States in the ordinary, customary, and intended way that implicates

  use of the AMS Accused Products within the Samsung Accused Products by supplying the



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  Samsung Accused Products to consumers within the United States and by instructing such

  consumers (for example in instruction manuals that the Samsung Defendants provide online or

  with the Samsung Accused Products) how to use the Samsung Accused Products in the ordinary,

  customary, and intended way, implicating use of the AMS Accused Products within the Samsung

  Accused Products, which the Samsung Defendants know or should know infringes at least claim

  1 of the ’283 Patent.

          73.     Further and in the alternative, at least since the filing and service of the Original

  Complaint for Patent Infringement in this action, the Samsung Defendants have been and now

  are actively contributing to infringement of at least claim 1 of the ’283 Patent in violation of 35

  U.S.C. § 271(c). Samsung installs, configures, and sells the Samsung Accused Products with

  distinct hardware and software components, including but not limited to the AMS Accused

  Products, that are especially made or especially adapted to practice the invention claimed in at

  least claim 1 of the ’283 Patent. The AMS Accused Products within the Samsung Accused

  Products constitute a material part of the claimed invention recited in at least claim 1 of the ‘283

  Patent and not a staple article or commodity of commerce because they are specifically designed

  to perform the functionality claimed in at least claim 1 of the ’283 Patent. Any other use of the

  AMS Accused Products within the Samsung Accused Products would be unusual, far-fetched,

  illusory, impractical, occasional, aberrant, or experimental.          The Samsung Defendants’

  contributions include, without limitation, offering to sell and/or selling within the United States,

  and/or importing into the United States, the Samsung Accused Products, which include the AMS

  Accused Products, knowing the AMS Accused Products to be especially made or especially

  adapted for use in an infringement of at least claim 1 of the ‘283 Patent, and not a staple article

  or commodity of commerce suitable for substantial noninfringing use.



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  D.      Infringement of the ’955 Patent

          74.     The allegations of paragraphs 1-73 above are incorporated by reference as if fully

  set forth herein.

          75.     The Samsung Accused Products are covered by at least claim 1 of the ’955 Patent.

          76.     The Samsung Defendants have directly infringed and continue to infringe at least

  claim 1 of the ’955 Patent in violation of 35 U.S.C. § 271(a) by, directly or through

  intermediaries and without 511 Innovations’s authority, making, using, selling, or offering to sell

  the Samsung Accused Products in the United States, or importing the Samsung Accused

  Products into the United States.

          77.     Further and in the alternative, at least since the filing and service of the Original

  Complaint for Patent Infringement in this action, the Samsung Defendants have been and now

  are actively inducing infringement of at least claim 1 of the ’955 Patent in violation of 35 U.S.C.

  § 271(b). Users of the Samsung Accused Products directly infringe at least claim 1 of the ’955

  Patent when they use the Samsung Accused Products in the ordinary, customary, and intended

  way, implicating use of the AMS Accused Products within the Samsung Accused Products. The

  Samsung Defendants’ inducements include, without limitation and with specific intent to

  encourage the infringement, knowingly inducing consumers to use the Samsung Accused

  Products within the United States in the ordinary, customary, and intended way that implicates

  use of the AMS Accused Products within the Samsung Accused Products by supplying the

  Samsung Accused Products to consumers within the United States and by instructing such

  consumers (for example in instruction manuals that the Samsung Defendants provide online or

  with the Samsung Accused Products) how to use the Samsung Accused Products in the ordinary,

  customary, and intended way, implicating use of the AMS Accused Products within the Samsung



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  Accused Products, which the Samsung Defendants know or should know infringes at least claim

  1 of the ’955 Patent.

          78.     Further and in the alternative, at least since the filing and service of the Original

  Complaint for Patent Infringement in this action, the Samsung Defendants have been and now

  are actively contributing to infringement of at least claim 1 of the ’955 Patent in violation of 35

  U.S.C. § 271(c). Samsung installs, configures, and sells the Samsung Accused Products with

  distinct hardware and software components, including but not limited to the AMS Accused

  Products, that are especially made or especially adapted to practice the invention claimed in at

  least claim 1 of the ’955 Patent. The AMS Accused Products within the Samsung Accused

  Products constitute a material part of the claimed invention recited in at least claim 1 of the ‘955

  Patent and not a staple article or commodity of commerce because they are specifically designed

  to perform the functionality claimed in at least claim 1 of the ’955 Patent. Any other use of the

  AMS Accused Products within the Samsung Accused Products would be unusual, far-fetched,

  illusory, impractical, occasional, aberrant, or experimental.          The Samsung Defendants’

  contributions include, without limitation, offering to sell and/or selling within the United States,

  and/or importing into the United States, the Samsung Accused Products, which include the AMS

  Accused Products, knowing the AMS Accused Products to be especially made or especially

  adapted for use in an infringement of at least claim 1 of the ‘955 Patent, and not a staple article

  or commodity of commerce suitable for substantial noninfringing use.

  E.      Infringement of the ’096 Patent

          79.     The allegations of paragraphs 1-78 above are incorporated by reference as if fully

  set forth herein.

          80.     The Samsung Accused Products are covered by at least claim 1 of the ’096 Patent.



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          81.     The Samsung Defendants have directly infringed and continue to infringe at least

  claim 1 of the ’096 Patent in violation of 35 U.S.C. § 271(a) by, directly or through

  intermediaries and without 511 Innovations’s authority, making, using, selling, or offering to sell

  the Samsung Accused Products in the United States, or importing the Samsung Accused

  Products into the United States.

          82.     Further and in the alternative, at least since the filing and service of the Original

  Complaint for Patent Infringement in this action, the Samsung Defendants have been and now

  are actively inducing infringement of at least claim 1 of the ’096 Patent in violation of 35 U.S.C.

  § 271(b). Users of the Samsung Accused Products directly infringe at least claim 1 of the ’096

  Patent when they use the Samsung Accused Products in the ordinary, customary, and intended

  way, implicating use of the AMS Accused Products within the Samsung Accused Products. The

  Samsung Defendants’ inducements include, without limitation and with specific intent to

  encourage the infringement, knowingly inducing consumers to use the Samsung Accused

  Products within the United States in the ordinary, customary, and intended way that implicates

  use of the AMS Accused Products within the Samsung Accused Products by supplying the

  Samsung Accused Products to consumers within the United States and by instructing such

  consumers (for example in instruction manuals that the Samsung Defendants provide online or

  with the Samsung Accused Products) how to use the Samsung Accused Products in the ordinary,

  customary, and intended way, implicating use of the AMS Accused Products within the Samsung

  Accused Products, which the Samsung Defendants know or should know infringes at least claim

  1 of the ’096 Patent.

          83.     Further and in the alternative, at least since the filing and service of the Original

  Complaint for Patent Infringement in this action, the Samsung Defendants have been and now



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  are actively contributing to infringement of at least claim 1 of the ’096 Patent in violation of 35

  U.S.C. § 271(c). Samsung installs, configures, and sells the Samsung Accused Products with

  distinct hardware and software components, including but not limited to the AMS Accused

  Products, that are especially made or especially adapted to practice the invention claimed in at

  least claim 1 of the ’096 Patent. The AMS Accused Products within the Samsung Accused

  Products constitute a material part of the claimed invention recited in at least claim 1 of the ‘096

  Patent and not a staple article or commodity of commerce because they are specifically designed

  to perform the functionality claimed in at least claim 1 of the ’096 Patent. Any other use of the

  AMS Accused Products within the Samsung Accused Products would be unusual, far-fetched,

  illusory, impractical, occasional, aberrant, or experimental.         The Samsung Defendants’

  contributions include, without limitation, offering to sell and/or selling within the United States,

  and/or importing into the United States, the Samsung Accused Products, which include the AMS

  Accused Products, knowing the AMS Accused Products to be especially made or especially

  adapted for use in an infringement of at least claim 1 of the ‘096 Patent, and not a staple article

  or commodity of commerce suitable for substantial noninfringing use.

  F.      Infringement of the ’541 Patent

          84.     The allegations of paragraphs 1-83 above are incorporated by reference as if fully

  set forth herein.

          85.     The Samsung Accused Products are covered by at least claim 1 of the ’541 Patent.

          86.     The Samsung Defendants have directly infringed and continue to infringe at least

  claim 1 of the ’541 Patent in violation of 35 U.S.C. § 271(a) by, directly or through

  intermediaries and without 511 Innovations’s authority, making, using, selling, or offering to sell




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  the Samsung Accused Products in the United States, or importing the Samsung Accused

  Products into the United States.

          87.     Further and in the alternative, at least since the filing and service of the Original

  Complaint for Patent Infringement in this action, the Samsung Defendants have been and now

  are actively inducing infringement of at least claim 1 of the ’541 Patent in violation of 35 U.S.C.

  § 271(b). Users of the Samsung Accused Products directly infringe at least claim 1 of the ’541

  Patent when they use the Samsung Accused Products in the ordinary, customary, and intended

  way, implicating use of the AMS Accused Products within the Samsung Accused Products. The

  Samsung Defendants’ inducements include, without limitation and with specific intent to

  encourage the infringement, knowingly inducing consumers to use the Samsung Accused

  Products within the United States in the ordinary, customary, and intended way that implicates

  use of the AMS Accused Products within the Samsung Accused Products by supplying the

  Samsung Accused Products to consumers within the United States and by instructing such

  consumers (for example in instruction manuals that the Samsung Defendants provide online or

  with the Samsung Accused Products) how to use the Samsung Accused Products in the ordinary,

  customary, and intended way, implicating use of the AMS Accused Products within the Samsung

  Accused Products, which the Samsung Defendants know or should know infringes at least claim

  1 of the ’541 Patent.

          88.     Further and in the alternative, at least since the filing and service of the Original

  Complaint for Patent Infringement in this action, the Samsung Defendants have been and now

  are actively contributing to infringement of at least claim 1 of the ’541 Patent in violation of 35

  U.S.C. § 271(c). Samsung installs, configures, and sells the Samsung Accused Products with

  distinct hardware and software components, including but not limited to the AMS Accused



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  Products, that are especially made or especially adapted to practice the invention claimed in at

  least claim 1 of the ’541 Patent. The AMS Accused Products within the Samsung Accused

  Products constitute a material part of the claimed invention recited in at least claim 1 of the ‘541

  Patent and not a staple article or commodity of commerce because they are specifically designed

  to perform the functionality claimed in at least claim 1 of the ’541 Patent. Any other use of the

  AMS Accused Products within the Samsung Accused Products would be unusual, far-fetched,

  illusory, impractical, occasional, aberrant, or experimental.          The Samsung Defendants’

  contributions include, without limitation, offering to sell and/or selling within the United States,

  and/or importing into the United States, the Samsung Accused Products, which include the AMS

  Accused Products, knowing the AMS Accused Products to be especially made or especially

  adapted for use in an infringement of at least claim 1 of the ‘541 Patent, and not a staple article

  or commodity of commerce suitable for substantial noninfringing use.

  G.      Infringement of the ’012 Patent

          89.     The allegations of paragraphs 1-88 above are incorporated by reference as if fully

  set forth herein.

          90.     The Samsung Accused Products are covered by at least claim 1 of the ’012 Patent.

          91.     The Samsung Defendants have directly infringed and continue to infringe at least

  claim 1 of the ’012 Patent in violation of 35 U.S.C. § 271(a) by, directly or through

  intermediaries and without 511 Innovations’s authority, making, using, selling, or offering to sell

  the Samsung Accused Products in the United States, or importing the Samsung Accused

  Products into the United States.

          92.     Further and in the alternative, at least since the filing and service of the Original

  Complaint for Patent Infringement in this action, the Samsung Defendants have been and now



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  are actively inducing infringement of at least claim 1 of the ’012 Patent in violation of 35 U.S.C.

  § 271(b). Users of the Samsung Accused Products directly infringe at least claim 1 of the ’012

  Patent when they use the Samsung Accused Products in the ordinary, customary, and intended

  way, implicating use of the AMS Accused Products within the Samsung Accused Products. The

  Samsung Defendants’ inducements include, without limitation and with specific intent to

  encourage the infringement, knowingly inducing consumers to use the Samsung Accused

  Products within the United States in the ordinary, customary, and intended way that implicates

  use of the AMS Accused Products within the Samsung Accused Products by supplying the

  Samsung Accused Products to consumers within the United States and by instructing such

  consumers (for example in instruction manuals that the Samsung Defendants provide online or

  with the Samsung Accused Products) how to use the Samsung Accused Products in the ordinary,

  customary, and intended way, implicating use of the AMS Accused Products within the Samsung

  Accused Products, which the Samsung Defendants know or should know infringes at least claim

  1 of the ’012 Patent.

          93.     Further and in the alternative, at least since the filing and service of the Original

  Complaint for Patent Infringement in this action, the Samsung Defendants have been and now

  are actively contributing to infringement of at least claim 1 of the ’012 Patent in violation of 35

  U.S.C. § 271(c). Samsung installs, configures, and sells the Samsung Accused Products with

  distinct hardware and software components, including but not limited to the AMS Accused

  Products, that are especially made or especially adapted to practice the invention claimed in at

  least claim 1 of the ’012 Patent. The AMS Accused Products within the Samsung Accused

  Products constitute a material part of the claimed invention recited in at least claim 1 of the ‘012

  Patent and not a staple article or commodity of commerce because they are specifically designed



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  to perform the functionality claimed in at least claim 1 of the ’012 Patent. Any other use of the

  AMS Accused Products within the Samsung Accused Products would be unusual, far-fetched,

  illusory, impractical, occasional, aberrant, or experimental.          The Samsung Defendants’

  contributions include, without limitation, offering to sell and/or selling within the United States,

  and/or importing into the United States, the Samsung Accused Products, which include the AMS

  Accused Products, knowing the AMS Accused Products to be especially made or especially

  adapted for use in an infringement of at least claim 1 of the ‘012 Patent, and not a staple article

  or commodity of commerce suitable for substantial noninfringing use.

  H.      Infringement of the ’844 Patent

          94.     The allegations of paragraphs 1-93 above are incorporated by reference as if fully

  set forth herein.

          95.     The Samsung Accused Products are covered by at least claim 1 of the ’844 Patent.

          96.     The Samsung Defendants have directly infringed and continue to infringe at least

  claim 1 of the ’844 Patent in violation of 35 U.S.C. § 271(a) by, directly or through

  intermediaries and without 511 Innovations’s authority, making, using, selling, or offering to sell

  the Samsung Accused Products in the United States, or importing the Samsung Accused

  Products into the United States.

          97.     Further and in the alternative, at least since the filing and service of the Original

  Complaint for Patent Infringement in this action, the Samsung Defendants have been and now

  are actively inducing infringement of at least claim 1 of the ’844 Patent in violation of 35 U.S.C.

  § 271(b). Users of the Samsung Accused Products directly infringe at least claim 1 of the ’844

  Patent when they use the Samsung Accused Products in the ordinary, customary, and intended

  way, implicating use of the AMS Accused Products within the Samsung Accused Products. The



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  Samsung Defendants’ inducements include, without limitation and with specific intent to

  encourage the infringement, knowingly inducing consumers to use the Samsung Accused

  Products within the United States in the ordinary, customary, and intended way that implicates

  use of the AMS Accused Products within the Samsung Accused Products by supplying the

  Samsung Accused Products to consumers within the United States and by instructing such

  consumers (for example in instruction manuals that the Samsung Defendants provide online or

  with the Samsung Accused Products) how to use the Samsung Accused Products in the ordinary,

  customary, and intended way, implicating use of the AMS Accused Products within the Samsung

  Accused Products, which the Samsung Defendants know or should know infringes at least claim

  1 of the ’844 Patent.

          98.     Further and in the alternative, at least since the filing and service of the Original

  Complaint for Patent Infringement in this action, the Samsung Defendants have been and now

  are actively contributing to infringement of at least claim 1 of the ’844 Patent in violation of 35

  U.S.C. § 271(c). Samsung installs, configures, and sells the Samsung Accused Products with

  distinct hardware and software components, including but not limited to the AMS Accused

  Products, that are especially made or especially adapted to practice the invention claimed in at

  least claim 1 of the ’844 Patent. The AMS Accused Products within the Samsung Accused

  Products constitute a material part of the claimed invention recited in at least claim 1 of the ‘844

  Patent and not a staple article or commodity of commerce because they are specifically designed

  to perform the functionality claimed in at least claim 1 of the ’844 Patent. Any other use of the

  AMS Accused Products within the Samsung Accused Products would be unusual, far-fetched,

  illusory, impractical, occasional, aberrant, or experimental.          The Samsung Defendants’

  contributions include, without limitation, offering to sell and/or selling within the United States,



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  and/or importing into the United States, the Samsung Accused Products, which include the AMS

  Accused Products, knowing the AMS Accused Products to be especially made or especially

  adapted for use in an infringement of at least claim 1 of the ‘844 Patent, and not a staple article

  or commodity of commerce suitable for substantial noninfringing use.

                                         VI. CLAIMS – HUAWEI

          99.     Based on the above-described services and products, 511 Innovations asserts

  several causes of action against Huawei. These causes of action are detailed as follows.

  A.      Infringement of the ’629 Patent

          100.    The allegations of paragraphs 1-99 above are incorporated by reference as if fully

  set forth herein.

          101.    The Huawei Accused Products are covered by at least claim 1 of the ’629 Patent.

          102.    Huawei has directly infringed and continues to infringe at least claim 1 of the

  ’629 Patent in violation of 35 U.S.C. § 271(a) by, directly or through intermediaries and without

  511 Innovations’s authority, making, using, selling, or offering to sell the Huawei Accused

  Products in the United States, or importing the Huawei Accused Products into the United States.

          103.    Further and in the alternative, at least since the filing and service of the Original

  Complaint for Patent Infringement in this action, Huawei has been and now is actively inducing

  infringement of at least claim 1 of the ’629 Patent in violation of 35 U.S.C. § 271(b). Users of

  the Huawei Accused Products directly infringe at least claim 1 of the ’629 Patent when they use

  the Huawei Accused Products in the ordinary, customary, and intended way, implicating use of

  the AMS Accused Products within the Huawei Accused Products.                Huawei’s inducements

  include, without limitation and with specific intent to encourage the infringement, knowingly

  inducing consumers to use the Huawei Accused Products within the United States in the



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  ordinary, customary, and intended way that implicates use of the AMS Accused Products within

  the Huawei Accused Products by supplying the Huawei Accused Products to consumers within

  the United States and by instructing such consumers (for example in instruction manuals that

  Huawei provides online or with the Huawei Accused Products) how to use the Huawei Accused

  Products in the ordinary, customary, and intended way, implicating use of the AMS Accused

  Products within the Huawei Accused Products, which Huawei knows or should know infringes at

  least claim 1 of the ’629 Patent.

          104.    Further and in the alternative, at least since the filing and service of the Original

  Complaint for Patent Infringement in this action, Huawei has been and now is actively

  contributing to infringement of at least claim 1 of the ’629 Patent in violation of 35 U.S.C.

  § 271(c). Huawei installs, configures, and sells the Huawei Accused Products with distinct

  hardware and software components, including but not limited to the AMS Accused Products, that

  are especially made or especially adapted to practice the invention claimed in at least claim 1 of

  the ’629 Patent. The AMS Accused Products within the Huawei Accused Products constitute a

  material part of the claimed invention recited in at least claim 1 of the ’629 Patent and not a

  staple article or commodity of commerce because they are specifically designed to perform the

  functionality claimed in at least claim 1 of the ’629 Patent. Any other use of the AMS Accused

  Products within the Huawei Accused Products would be unusual, far-fetched, illusory,

  impractical, occasional, aberrant, or experimental.      Huawei’s contributions include, without

  limitation, offering to sell and/or selling within the United States, and/or importing into the

  United States, the Huawei Accused Products, which include the AMS Accused Products,

  knowing the AMS Accused Products to be especially made or especially adapted for use in an




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  infringement of at least claim 1 of the ’629 Patent, and not a staple article or commodity of

  commerce suitable for substantial noninfringing use.

  B.      Infringement of the ’096 Patent

          105.    The allegations of paragraphs 1-104 above are incorporated by reference as if

  fully set forth herein.

          106.    The Huawei Accused Products are covered by at least claim 1 of the ’096 Patent.

          107.    Huawei has directly infringed and continues to infringe at least claim 1 of the

  ’096 Patent in violation of 35 U.S.C. § 271(a) by, directly or through intermediaries and without

  511 Innovations’s authority, making, using, selling, or offering to sell the Huawei Accused

  Products in the United States, or importing the Huawei Accused Products into the United States.

          108.    Further and in the alternative, at least since the filing and service of the Original

  Complaint for Patent Infringement in this action, Huawei has been and now is actively inducing

  infringement of at least claim 1 of the ’096 Patent in violation of 35 U.S.C. § 271(b). Users of

  the Huawei Accused Products directly infringe at least claim 1 of the ’096 Patent when they use

  the Huawei Accused Products in the ordinary, customary, and intended way, implicating use of

  the AMS Accused Products within the Huawei Accused Products.                Huawei’s inducements

  include, without limitation and with specific intent to encourage the infringement, knowingly

  inducing consumers to use the Huawei Accused Products within the United States in the

  ordinary, customary, and intended way that implicates use of the AMS Accused Products within

  the Huawei Accused Products by supplying the Huawei Accused Products to consumers within

  the United States and by instructing such consumers (for example in instruction manuals that

  Huawei provides online or with the Huawei Accused Products) how to use the Huawei Accused

  Products in the ordinary, customary, and intended way, implicating use of the AMS Accused



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  Products within the Huawei Accused Products, which Huawei knows or should know infringes at

  least claim 1 of the ’096 Patent.

          109.    Further and in the alternative, at least since the filing and service of the Original

  Complaint for Patent Infringement in this action, Huawei has been and now is actively

  contributing to infringement of at least claim 1 of the ’096 Patent in violation of 35 U.S.C.

  § 271(c). Huawei installs, configures, and sells the Huawei Accused Products with distinct

  hardware and software components, including but not limited to the AMS Accused Products, that

  are especially made or especially adapted to practice the invention claimed in at least claim 1 of

  the ’096 Patent. The AMS Accused Products within the Huawei Accused Products constitute a

  material part of the claimed invention recited in at least claim 1 of the ’096 Patent and not a

  staple article or commodity of commerce because they are specifically designed to perform the

  functionality claimed in at least claim 1 of the ’096 Patent. Any other use of the AMS Accused

  Products within the Huawei Accused Products would be unusual, far-fetched, illusory,

  impractical, occasional, aberrant, or experimental.      Huawei’s contributions include, without

  limitation, offering to sell and/or selling within the United States, and/or importing into the

  United States, the Huawei Accused Products, which include the AMS Accused Products,

  knowing the AMS Accused Products to be especially made or especially adapted for use in an

  infringement of at least claim 1 of the ’096 Patent, and not a staple article or commodity of

  commerce suitable for substantial noninfringing use.

  C.      Infringement of the ’541 Patent

          110.    The allegations of paragraphs 1-109 above are incorporated by reference as if

  fully set forth herein.

          111.    The Huawei Accused Products are covered by at least claim 1 of the ’541 Patent.



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          112.    Huawei has directly infringed and continues to infringe at least claim 1 of the

  ’541 Patent in violation of 35 U.S.C. § 271(a) by, directly or through intermediaries and without

  511 Innovations’s authority, making, using, selling, or offering to sell the Huawei Accused

  Products in the United States, or importing the Huawei Accused Products into the United States.

          113.    Further and in the alternative, at least since the filing and service of the Original

  Complaint for Patent Infringement in this action, Huawei has been and now is actively inducing

  infringement of at least claim 1 of the ’541 Patent in violation of 35 U.S.C. § 271(b). Users of

  the Huawei Accused Products directly infringe at least claim 1 of the ’541 Patent when they use

  the Huawei Accused Products in the ordinary, customary, and intended way, implicating use of

  the AMS Accused Products within the Huawei Accused Products.                Huawei’s inducements

  include, without limitation and with specific intent to encourage the infringement, knowingly

  inducing consumers to use the Huawei Accused Products within the United States in the

  ordinary, customary, and intended way that implicates use of the AMS Accused Products within

  the Huawei Accused Products by supplying the Huawei Accused Products to consumers within

  the United States and by instructing such consumers (for example in instruction manuals that

  Huawei provides online or with the Huawei Accused Products) how to use the Huawei Accused

  Products in the ordinary, customary, and intended way, implicating use of the AMS Accused

  Products within the Huawei Accused Products, which Huawei knows or should know infringes at

  least claim 1 of the ’541 Patent.

          114.    Further and in the alternative, at least since the filing and service of the Original

  Complaint for Patent Infringement in this action, Huawei has been and now is actively

  contributing to infringement of at least claim 1 of the ’541 Patent in violation of 35 U.S.C.

  § 271(c). Huawei installs, configures, and sells the Huawei Accused Products with distinct



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  hardware and software components, including but not limited to the AMS Accused Products, that

  are especially made or especially adapted to practice the invention claimed in at least claim 1 of

  the ’541 Patent. The AMS Accused Products within the Huawei Accused Products constitute a

  material part of the claimed invention recited in at least claim 1 of the ’541 Patent and not a

  staple article or commodity of commerce because they are specifically designed to perform the

  functionality claimed in at least claim 1 of the ’541 Patent. Any other use of the AMS Accused

  Products within the Huawei Accused Products would be unusual, far-fetched, illusory,

  impractical, occasional, aberrant, or experimental.      Huawei’s contributions include, without

  limitation, offering to sell and/or selling within the United States, and/or importing into the

  United States, the Huawei Accused Products, which include the AMS Accused Products,

  knowing the AMS Accused Products to be especially made or especially adapted for use in an

  infringement of at least claim 1 of the ’541 Patent, and not a staple article or commodity of

  commerce suitable for substantial noninfringing use.

  D.      Infringement of the ’012 Patent

          115.    The allegations of paragraphs 1-114 above are incorporated by reference as if

  fully set forth herein.

          116.    The Huawei Accused Products are covered by at least claim 1 of the ’012 Patent.

          117.    Huawei has directly infringed and continues to infringe at least claim 1 of the

  ’012 Patent in violation of 35 U.S.C. § 271(a) by, directly or through intermediaries and without

  511 Innovations’s authority, making, using, selling, or offering to sell the Huawei Accused

  Products in the United States, or importing the Huawei Accused Products into the United States.

          118.    Further and in the alternative, at least since the filing and service of the Original

  Complaint for Patent Infringement in this action, Huawei has been and now is actively inducing



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  infringement of at least claim 1 of the ’012 Patent in violation of 35 U.S.C. § 271(b). Users of

  the Huawei Accused Products directly infringe at least claim 1 of the ’012 Patent when they use

  the Huawei Accused Products in the ordinary, customary, and intended way, implicating use of

  the AMS Accused Products within the Huawei Accused Products.                Huawei’s inducements

  include, without limitation and with specific intent to encourage the infringement, knowingly

  inducing consumers to use the Huawei Accused Products within the United States in the

  ordinary, customary, and intended way that implicates use of the AMS Accused Products within

  the Huawei Accused Products by supplying the Huawei Accused Products to consumers within

  the United States and by instructing such consumers (for example in instruction manuals that

  Huawei provides online or with the Huawei Accused Products) how to use the Huawei Accused

  Products in the ordinary, customary, and intended way, implicating use of the AMS Accused

  Products within the Huawei Accused Products, which Huawei knows or should know infringes at

  least claim 1 of the ’012 Patent.

          119.    Further and in the alternative, at least since the filing and service of the Original

  Complaint for Patent Infringement in this action, Huawei has been and now is actively

  contributing to infringement of at least claim 1 of the ’012 Patent in violation of 35 U.S.C.

  § 271(c). Huawei installs, configures, and sells the Huawei Accused Products with distinct

  hardware and software components, including but not limited to the AMS Accused Products, that

  are especially made or especially adapted to practice the invention claimed in at least claim 1 of

  the ’012 Patent. The AMS Accused Products within the Huawei Accused Products constitute a

  material part of the claimed invention recited in at least claim 1 of the ’012 Patent and not a

  staple article or commodity of commerce because they are specifically designed to perform the

  functionality claimed in at least claim 1 of the ’012 Patent. Any other use of the AMS Accused



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  Products within the Huawei Accused Products would be unusual, far-fetched, illusory,

  impractical, occasional, aberrant, or experimental.      Huawei’s contributions include, without

  limitation, offering to sell and/or selling within the United States, and/or importing into the

  United States, the Huawei Accused Products, which include the AMS Accused Products,

  knowing the AMS Accused Products to be especially made or especially adapted for use in an

  infringement of at least claim 1 of the ’012 Patent, and not a staple article or commodity of

  commerce suitable for substantial noninfringing use.

  E.      Infringement of the ’844 Patent

          120.    The allegations of paragraphs 1-119 above are incorporated by reference as if

  fully set forth herein.

          121.    The Huawei Accused Products are covered by at least claim 1 of the ’844 Patent.

          122.    Huawei has directly infringed and continues to infringe at least claim 1 of the

  ’844 Patent in violation of 35 U.S.C. § 271(a) by, directly or through intermediaries and without

  511 Innovations’s authority, making, using, selling, or offering to sell the Huawei Accused

  Products in the United States, or importing the Huawei Accused Products into the United States.

          123.    Further and in the alternative, at least since the filing and service of the Original

  Complaint for Patent Infringement in this action, Huawei has been and now is actively inducing

  infringement of at least claim 1 of the ’844 Patent in violation of 35 U.S.C. § 271(b). Users of

  the Huawei Accused Products directly infringe at least claim 1 of the ’844 Patent when they use

  the Huawei Accused Products in the ordinary, customary, and intended way, implicating use of

  the AMS Accused Products within the Huawei Accused Products.                Huawei’s inducements

  include, without limitation and with specific intent to encourage the infringement, knowingly

  inducing consumers to use the Huawei Accused Products within the United States in the



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  ordinary, customary, and intended way that implicates use of the AMS Accused Products within

  the Huawei Accused Products by supplying the Huawei Accused Products to consumers within

  the United States and by instructing such consumers (for example in instruction manuals that

  Huawei provides online or with the Huawei Accused Products) how to use the Huawei Accused

  Products in the ordinary, customary, and intended way, implicating use of the AMS Accused

  Products within the Huawei Accused Products, which Huawei knows or should know infringes at

  least claim 1 of the ’844 Patent.

          124.    Further and in the alternative, at least since the filing and service of the Original

  Complaint for Patent Infringement in this action, Huawei has been and now is actively

  contributing to infringement of at least claim 1 of the ’844 Patent in violation of 35 U.S.C.

  § 271(c). Huawei installs, configures, and sells the Huawei Accused Products with distinct

  hardware and software components, including but not limited to the AMS Accused Products, that

  are especially made or especially adapted to practice the invention claimed in at least claim 1 of

  the ’844 Patent. The AMS Accused Products within the Huawei Accused Products constitute a

  material part of the claimed invention recited in at least claim 1 of the ’844 Patent and not a

  staple article or commodity of commerce because they are specifically designed to perform the

  functionality claimed in at least claim 1 of the ’844 Patent. Any other use of the AMS Accused

  Products within the Huawei Accused Products would be unusual, far-fetched, illusory,

  impractical, occasional, aberrant, or experimental.      Huawei’s contributions include, without

  limitation, offering to sell and/or selling within the United States, and/or importing into the

  United States, the Huawei Accused Products, which include the AMS Accused Products,

  knowing the AMS Accused Products to be especially made or especially adapted for use in an




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  infringement of at least claim 1 of the ’844 Patent, and not a staple article or commodity of

  commerce suitable for substantial noninfringing use.

                                           VII. CLAIMS – ZTE

          125.    Based on the above-described services and products, 511 Innovations asserts

  several causes of action against ZTE. These causes of action are detailed as follows.

  A.      Infringement of the ’629 Patent

          126.    The allegations of paragraphs 1-125 above are incorporated by reference as if

  fully set forth herein.

          127.    The ZTE Accused Products are covered by at least claim 1 of the ’629 Patent.

          128.    ZTE has directly infringed and continues to infringe at least claim 1 of the ’629

  Patent in violation of 35 U.S.C. § 271(a) by, directly or through intermediaries and without 511

  Innovations’s authority, making, using, selling, or offering to sell the ZTE Accused Products in

  the United States, or importing the ZTE Accused Products into the United States.

          129.    Further and in the alternative, at least since the filing and service of the Original

  Complaint for Patent Infringement in this action, ZTE has been and now is actively inducing

  infringement of at least claim 1 of the ’629 Patent in violation of 35 U.S.C. § 271(b). Users of

  the ZTE Accused Products directly infringe at least claim 1 of the ’629 Patent when they use the

  ZTE Accused Products in the ordinary, customary, and intended way, implicating use of the

  AMS Accused Products within the ZTE Accused Products. ZTE’s inducements include, without

  limitation and with specific intent to encourage the infringement, knowingly inducing consumers

  to use the ZTE Accused Products within the United States in the ordinary, customary, and

  intended way that implicates use of the AMS Accused Products within the ZTE Accused

  Products by supplying the ZTE Accused Products to consumers within the United States and by



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  instructing such consumers (for example in instruction manuals that ZTE provides online or with

  the ZTE Accused Products) how to use the ZTE Accused Products in the ordinary, customary,

  and intended way, implicating use of the AMS Accused Products within the ZTE Accused

  Products, which ZTE knows or should know infringes at least claim 1 of the ’629 Patent.

          130.    Further and in the alternative, at least since the filing and service of the Original

  Complaint for Patent Infringement in this action, ZTE has been and now is actively contributing

  to infringement of at least claim 1 of the ’629 Patent in violation of 35 U.S.C. § 271(c). ZTE

  installs, configures, and sells the ZTE Accused Products with distinct hardware and software

  components, including but not limited to the AMS Accused Products, that are especially made or

  especially adapted to practice the invention claimed in at least claim 1 of the ’629 Patent. The

  AMS Accused Products within the ZTE Accused Products constitute a material part of the

  claimed invention recited in at least claim 1 of the ’629 Patent and not a staple article or

  commodity of commerce because they are specifically designed to perform the functionality

  claimed in at least claim 1 of the ’629 Patent. Any other use of the AMS Accused Products

  within the ZTE Accused Products would be unusual, far-fetched, illusory, impractical,

  occasional, aberrant, or experimental. ZTE’s contributions include, without limitation, offering

  to sell and/or selling within the United States, and/or importing into the United States, the ZTE

  Accused Products, which include the AMS Accused Products, knowing the AMS Accused

  Products to be especially made or especially adapted for use in an infringement of at least claim

  1 of the ’629 Patent, and not a staple article or commodity of commerce suitable for substantial

  noninfringing use.




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  B.      Infringement of the ’096 Patent

          131.    The allegations of paragraphs 1-130 above are incorporated by reference as if

  fully set forth herein.

          132.    The ZTE Accused Products are covered by at least claim 1 of the ’096 Patent.

          133.    ZTE has directly infringed and continues to infringe at least claim 1 of the ’096

  Patent in violation of 35 U.S.C. § 271(a) by, directly or through intermediaries and without 511

  Innovations’s authority, making, using, selling, or offering to sell the ZTE Accused Products in

  the United States, or importing the ZTE Accused Products into the United States.

          134.    Further and in the alternative, at least since the filing and service of the Original

  Complaint for Patent Infringement in this action, ZTE has been and now is actively inducing

  infringement of at least claim 1 of the ’096 Patent in violation of 35 U.S.C. § 271(b). Users of

  the ZTE Accused Products directly infringe at least claim 1 of the ’096 Patent when they use the

  ZTE Accused Products in the ordinary, customary, and intended way, implicating use of the

  AMS Accused Products within the ZTE Accused Products. ZTE’s inducements include, without

  limitation and with specific intent to encourage the infringement, knowingly inducing consumers

  to use the ZTE Accused Products within the United States in the ordinary, customary, and

  intended way that implicates use of the AMS Accused Products within the ZTE Accused

  Products by supplying the ZTE Accused Products to consumers within the United States and by

  instructing such consumers (for example in instruction manuals that ZTE provides online or with

  the ZTE Accused Products) how to use the ZTE Accused Products in the ordinary, customary,

  and intended way, implicating use of the AMS Accused Products within the ZTE Accused

  Products, which ZTE knows or should know infringes at least claim 1 of the ’096 Patent.




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          135.    Further and in the alternative, at least since the filing and service of the Original

  Complaint for Patent Infringement in this action, ZTE has been and now is actively contributing

  to infringement of at least claim 1 of the ’096 Patent in violation of 35 U.S.C. § 271(c). ZTE

  installs, configures, and sells the ZTE Accused Products with distinct hardware and software

  components, including but not limited to the AMS Accused Products, that are especially made or

  especially adapted to practice the invention claimed in at least claim 1 of the ’096 Patent. The

  AMS Accused Products within the ZTE Accused Products constitute a material part of the

  claimed invention recited in at least claim 1 of the ’096 Patent and not a staple article or

  commodity of commerce because they are specifically designed to perform the functionality

  claimed in at least claim 1 of the ’096 Patent. Any other use of the AMS Accused Products

  within the ZTE Accused Products would be unusual, far-fetched, illusory, impractical,

  occasional, aberrant, or experimental. ZTE’s contributions include, without limitation, offering

  to sell and/or selling within the United States, and/or importing into the United States, the ZTE

  Accused Products, which include the AMS Accused Products, knowing the AMS Accused

  Products to be especially made or especially adapted for use in an infringement of at least claim

  1 of the ’096 Patent, and not a staple article or commodity of commerce suitable for substantial

  noninfringing use.

  C.      Infringement of the ’541 Patent

          136.    The allegations of paragraphs 1-135 above are incorporated by reference as if

  fully set forth herein.

          137.    The ZTE Accused Products are covered by at least claim 1 of the ’541 Patent.

          138.    ZTE has directly infringed and continues to infringe at least claim 1 of the ’541

  Patent in violation of 35 U.S.C. § 271(a) by, directly or through intermediaries and without 511



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  Innovations’s authority, making, using, selling, or offering to sell the ZTE Accused Products in

  the United States, or importing the ZTE Accused Products into the United States.

          139.    Further and in the alternative, at least since the filing and service of the Original

  Complaint for Patent Infringement in this action, ZTE has been and now is actively inducing

  infringement of at least claim 1 of the ’541 Patent in violation of 35 U.S.C. § 271(b). Users of

  the ZTE Accused Products directly infringe at least claim 1 of the ’541 Patent when they use the

  ZTE Accused Products in the ordinary, customary, and intended way, implicating use of the

  AMS Accused Products within the ZTE Accused Products. ZTE’s inducements include, without

  limitation and with specific intent to encourage the infringement, knowingly inducing consumers

  to use the ZTE Accused Products within the United States in the ordinary, customary, and

  intended way that implicates use of the AMS Accused Products within the ZTE Accused

  Products by supplying the ZTE Accused Products to consumers within the United States and by

  instructing such consumers (for example in instruction manuals that ZTE provides online or with

  the ZTE Accused Products) how to use the ZTE Accused Products in the ordinary, customary,

  and intended way, implicating use of the AMS Accused Products within the ZTE Accused

  Products, which ZTE knows or should know infringes at least claim 1 of the ’541 Patent.

          140.    Further and in the alternative, at least since the filing and service of the Original

  Complaint for Patent Infringement in this action, ZTE has been and now is actively contributing

  to infringement of at least claim 1 of the ’541 Patent in violation of 35 U.S.C. § 271(c). ZTE

  installs, configures, and sells the ZTE Accused Products with distinct hardware and software

  components, including but not limited to the AMS Accused Products, that are especially made or

  especially adapted to practice the invention claimed in at least claim 1 of the ’541 Patent. The

  AMS Accused Products within the ZTE Accused Products constitute a material part of the



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  claimed invention recited in at least claim 1 of the ’541 Patent and not a staple article or

  commodity of commerce because they are specifically designed to perform the functionality

  claimed in at least claim 1 of the ’541 Patent. Any other use of the AMS Accused Products

  within the ZTE Accused Products would be unusual, far-fetched, illusory, impractical,

  occasional, aberrant, or experimental. ZTE’s contributions include, without limitation, offering

  to sell and/or selling within the United States, and/or importing into the United States, the ZTE

  Accused Products, which include the AMS Accused Products, knowing the AMS Accused

  Products to be especially made or especially adapted for use in an infringement of at least claim

  1 of the ’541 Patent, and not a staple article or commodity of commerce suitable for substantial

  noninfringing use.

  D.      Infringement of the ’012 Patent

          141.    The allegations of paragraphs 1-140 above are incorporated by reference as if

  fully set forth herein.

          142.    The ZTE Accused Products are covered by at least claim 1 of the ’012 Patent.

          143.    ZTE has directly infringed and continues to infringe at least claim 1 of the ’012

  Patent in violation of 35 U.S.C. § 271(a) by, directly or through intermediaries and without 511

  Innovations’s authority, making, using, selling, or offering to sell the ZTE Accused Products in

  the United States, or importing the ZTE Accused Products into the United States.

          144.    Further and in the alternative, at least since the filing and service of the Original

  Complaint for Patent Infringement in this action, ZTE has been and now is actively inducing

  infringement of at least claim 1 of the ’012 Patent in violation of 35 U.S.C. § 271(b). Users of

  the ZTE Accused Products directly infringe at least claim 1 of the ’012 Patent when they use the

  ZTE Accused Products in the ordinary, customary, and intended way, implicating use of the



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  AMS Accused Products within the ZTE Accused Products. ZTE’s inducements include, without

  limitation and with specific intent to encourage the infringement, knowingly inducing consumers

  to use the ZTE Accused Products within the United States in the ordinary, customary, and

  intended way that implicates use of the AMS Accused Products within the ZTE Accused

  Products by supplying the ZTE Accused Products to consumers within the United States and by

  instructing such consumers (for example in instruction manuals that ZTE provides online or with

  the ZTE Accused Products) how to use the ZTE Accused Products in the ordinary, customary,

  and intended way, implicating use of the AMS Accused Products within the ZTE Accused

  Products, which ZTE knows or should know infringes at least claim 1 of the ’012 Patent.

          145.    Further and in the alternative, at least since the filing and service of the Original

  Complaint for Patent Infringement in this action, ZTE has been and now is actively contributing

  to infringement of at least claim 1 of the ’012 Patent in violation of 35 U.S.C. § 271(c). ZTE

  installs, configures, and sells the ZTE Accused Products with distinct hardware and software

  components, including but not limited to the AMS Accused Products, that are especially made or

  especially adapted to practice the invention claimed in at least claim 1 of the ’012 Patent. The

  AMS Accused Products within the ZTE Accused Products constitute a material part of the

  claimed invention recited in at least claim 1 of the ’012 Patent and not a staple article or

  commodity of commerce because they are specifically designed to perform the functionality

  claimed in at least claim 1 of the ’012 Patent. Any other use of the AMS Accused Products

  within the ZTE Accused Products would be unusual, far-fetched, illusory, impractical,

  occasional, aberrant, or experimental. ZTE’s contributions include, without limitation, offering

  to sell and/or selling within the United States, and/or importing into the United States, the ZTE

  Accused Products, which include the AMS Accused Products, knowing the AMS Accused



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  Products to be especially made or especially adapted for use in an infringement of at least claim

  1 of the ’012 Patent, and not a staple article or commodity of commerce suitable for substantial

  noninfringing use.

  E.      Infringement of the ’844 Patent

          146.    The allegations of paragraphs 1-145 above are incorporated by reference as if

  fully set forth herein.

          147.    The ZTE Accused Products are covered by at least claim 1 of the ’844 Patent.

          148.    ZTE has directly infringed and continues to infringe at least claim 1 of the ’844

  Patent in violation of 35 U.S.C. § 271(a) by, directly or through intermediaries and without 511

  Innovations’s authority, making, using, selling, or offering to sell the ZTE Accused Products in

  the United States, or importing the ZTE Accused Products into the United States.

          149.    Further and in the alternative, at least since the filing and service of the Original

  Complaint for Patent Infringement in this action, ZTE has been and now is actively inducing

  infringement of at least claim 1 of the ’844 Patent in violation of 35 U.S.C. § 271(b). Users of

  the ZTE Accused Products directly infringe at least claim 1 of the ’844 Patent when they use the

  ZTE Accused Products in the ordinary, customary, and intended way, implicating use of the

  AMS Accused Products within the ZTE Accused Products. ZTE’s inducements include, without

  limitation and with specific intent to encourage the infringement, knowingly inducing consumers

  to use the ZTE Accused Products within the United States in the ordinary, customary, and

  intended way that implicates use of the AMS Accused Products within the ZTE Accused

  Products by supplying the ZTE Accused Products to consumers within the United States and by

  instructing such consumers (for example in instruction manuals that ZTE provides online or with

  the ZTE Accused Products) how to use the ZTE Accused Products in the ordinary, customary,



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  and intended way, implicating use of the AMS Accused Products within the ZTE Accused

  Products, which ZTE knows or should know infringes at least claim 1 of the ’844 Patent.

          150.    Further and in the alternative, at least since the filing and service of the Original

  Complaint for Patent Infringement in this action, ZTE has been and now is actively contributing

  to infringement of at least claim 1 of the ’844 Patent in violation of 35 U.S.C. § 271(c). ZTE

  installs, configures, and sells the ZTE Accused Products with distinct hardware and software

  components, including but not limited to the AMS Accused Products, that are especially made or

  especially adapted to practice the invention claimed in at least claim 1 of the ’844 Patent. The

  AMS Accused Products within the ZTE Accused Products constitute a material part of the

  claimed invention recited in at least claim 1 of the ’844 Patent and not a staple article or

  commodity of commerce because they are specifically designed to perform the functionality

  claimed in at least claim 1 of the ’844 Patent. Any other use of the AMS Accused Products

  within the ZTE Accused Products would be unusual, far-fetched, illusory, impractical,

  occasional, aberrant, or experimental. ZTE’s contributions include, without limitation, offering

  to sell and/or selling within the United States, and/or importing into the United States, the ZTE

  Accused Products, which include the AMS Accused Products, knowing the AMS Accused

  Products to be especially made or especially adapted for use in an infringement of at least claim

  1 of the ’844 Patent, and not a staple article or commodity of commerce suitable for substantial

  noninfringing use.

                                 VIII. CLAIMS – AMS DEFENDANTS

          151.    Based on the above-described services and products, 511 Innovations asserts

  several causes of action against the AMS Defendants. These causes of action are detailed as

  follows.



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  A.      Infringement of the ’629 Patent

          152.    The allegations of paragraphs 1-151 above are incorporated by reference as if

  fully set forth herein.

          153.    The AMS Accused Products constitute a material part of the invention recited in

  at least claim 1 of the ’629 Patent.

          154.    By virtue of their dealings with JJL, the AMS Defendants know the AMS

  Accused Products to be especially made or especially adapted for use in an infringement of at

  least claim 1 of the ‘629 Patent, and not a staple article or commodity of commerce suitable for

  substantial noninfringing use.

          155.    By making and/or selling the AMS Accused Products for inclusion in the

  Samsung Accused Products, the Huawei Accused Products, and the ZTE Accused Products, the

  AMS Defendants, directly or through intermediaries, have been and now are purposefully and

  voluntarily placing the AMS Accused Products into the stream of commerce with the expectation

  that they will be purchased by consumers in this District.

          156.    For these reasons, the AMS Defendants have been and now are actively

  contributing to infringement of at least claim 1 of the ’629 Patent in violation of 35 U.S.C.

  § 271(c).

          157.    On information and belief, the AMS Defendants’ infringement of the ’629 Patent

  has been and now is willful.

  B.      Infringement of the ’038 Patent

          158.    The allegations of paragraphs 1-157 above are incorporated by reference as if

  fully set forth herein.




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          159.    The AMS Accused Products constitute a material part of the invention recited in

  at least claim 127 of the ’038 Patent.

          160.    By virtue of their dealings with JJL, the AMS Defendants know the AMS

  Accused Products to be especially made or especially adapted for use in an infringement of at

  least claim 127 of the ’038 Patent, and not a staple article or commodity of commerce suitable

  for substantial noninfringing use.

          161.    By making and/or selling the AMS Accused Products for inclusion in the

  Samsung Accused Products, the AMS Defendants, directly or through intermediaries, have been

  and now are purposefully and voluntarily placing the AMS Accused Products into the stream of

  commerce with the expectation that they will be purchased by consumers in this District.

          162.    For these reasons, the AMS Defendants have been and now are actively

  contributing to infringement of at least claim 127 of the ’038 Patent in violation of 35 U.S.C.

  § 271(c).

          163.    On information and belief, the AMS Defendants’ infringement of the ’038 Patent

  has been and now is willful.

  C.      Infringement of the ’283 Patent

          164.    The allegations of paragraphs 1-163 above are incorporated by reference as if

  fully set forth herein.

          165.    The AMS Accused Products constitute a material part of the invention recited in

  at least claim 1 of the ’283 Patent.

          166.    By virtue of their dealings with JJL, the AMS Defendants know the AMS

  Accused Products to be especially made or especially adapted for use in an infringement of at




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  least claim 1 of the ‘283 Patent, and not a staple article or commodity of commerce suitable for

  substantial noninfringing use.

          167.    By making and/or selling the AMS Accused Products for inclusion in the

  Samsung Accused Products, the AMS Defendants, directly or through intermediaries, have been

  and now are purposefully and voluntarily placing the AMS Accused Products into the stream of

  commerce with the expectation that they will be purchased by consumers in this District.

          168.    For these reasons, the AMS Defendants have been and now are actively

  contributing to infringement of at least claim 1 of the ’283 Patent in violation of 35 U.S.C.

  § 271(c).

          169.    On information and belief, the AMS Defendants’ infringement of the ’283 Patent

  has been and now is willful.

  D.      Infringement of the ’955 Patent

          170.    The allegations of paragraphs 1-169 above are incorporated by reference as if

  fully set forth herein.

          171.    The AMS Accused Products constitute a material part of the invention recited in

  at least claim 1 of the ’955 Patent.

          172.    By virtue of their dealings with JJL, the AMS Defendants know the AMS

  Accused Products to be especially made or especially adapted for use in an infringement of at

  least claim 1 of the ‘955 Patent, and not a staple article or commodity of commerce suitable for

  substantial noninfringing use.

          173.    By making and/or selling the AMS Accused Products for inclusion in the

  Samsung Accused Products, the AMS Defendants, directly or through intermediaries, have been




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  and now are purposefully and voluntarily placing the AMS Accused Products into the stream of

  commerce with the expectation that they will be purchased by consumers in this District.

          174.    For these reasons, the AMS Defendants have been and now are actively

  contributing to infringement of at least claim 1 of the ’955 Patent in violation of 35 U.S.C.

  § 271(c).

          175.    On information and belief, the AMS Defendants’ infringement of the ’955 Patent

  has been and now is willful.

  E.      Infringement of the ’096 Patent

          176.    The allegations of paragraphs 1-175 above are incorporated by reference as if

  fully set forth herein.

          177.    The AMS Accused Products constitute a material part of the invention recited in

  at least claim 1 of the ’096 Patent.

          178.    By virtue of their dealings with JJL, the AMS Defendants know the AMS

  Accused Products to be especially made or especially adapted for use in an infringement of at

  least claim 1 of the ’096 Patent, and not a staple article or commodity of commerce suitable for

  substantial noninfringing use.

          179.    By making and/or selling the AMS Accused Products for inclusion in the

  Samsung Accused Products, the Huawei Accused Products, and the ZTE Accused Products, the

  AMS Defendants, directly or through intermediaries, have been and now are purposefully and

  voluntarily placing the AMS Accused Products into the stream of commerce with the expectation

  that they will be purchased by consumers in this District.




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          180.    For these reasons, the AMS Defendants have been and now are actively

  contributing to infringement of at least claim 1 of the ’096 Patent in violation of 35 U.S.C.

  § 271(c).

          181.    On information and belief, the AMS Defendants’ infringement of the ’096 Patent

  has been and now is willful.

  F.      Infringement of the ’541 Patent

          182.    The allegations of paragraphs 1-181 above are incorporated by reference as if

  fully set forth herein.

          183.    The AMS Accused Products constitute a material part of the invention recited in

  at least claim 1 of the ’541 Patent.

          184.    By virtue of their dealings with JJL, the AMS Defendants know the AMS

  Accused Products to be especially made or especially adapted for use in an infringement of at

  least claim 1 of the ’541 Patent, and not a staple article or commodity of commerce suitable for

  substantial noninfringing use.

          185.    By making and/or selling the AMS Accused Products for inclusion in the

  Samsung Accused Products, the Huawei Accused Products, and the ZTE Accused Products, the

  AMS Defendants, directly or through intermediaries, have been and now are purposefully and

  voluntarily placing the AMS Accused Products into the stream of commerce with the expectation

  that they will be purchased by consumers in this District.

          186.    For these reasons, the AMS Defendants have been and now are actively

  contributing to infringement of at least claim 1 of the ’541 Patent in violation of 35 U.S.C.

  § 271(c).




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          187.    On information and belief, the AMS Defendants’ infringement of the ’541 Patent

  has been and now is willful.

  G.      Infringement of the ’012 Patent

          188.    The allegations of paragraphs 1-187 above are incorporated by reference as if

  fully set forth herein.

          189.    The AMS Accused Products constitute a material part of the invention recited in

  at least claim 1 of the ’012 Patent.

          190.    By virtue of their dealings with JJL, the AMS Defendants know the AMS

  Accused Products to be especially made or especially adapted for use in an infringement of at

  least claim 1 of the ’012 Patent, and not a staple article or commodity of commerce suitable for

  substantial noninfringing use.

          191.    By making and/or selling the AMS Accused Products for inclusion in the

  Samsung Accused Products, the Huawei Accused Products, and the ZTE Accused Products, the

  AMS Defendants, directly or through intermediaries, have been and now are purposefully and

  voluntarily placing the AMS Accused Products into the stream of commerce with the expectation

  that they will be purchased by consumers in this District.

          192.    For these reasons, the AMS Defendants have been and now are actively

  contributing to infringement of at least claim 1 of the ’012 Patent in violation of 35 U.S.C.

  § 271(c).

          193.    On information and belief, the AMS Defendants’ infringement of the ’012 Patent

  has been and now is willful.




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  H.      Infringement of the ’844 Patent

          194.    The allegations of paragraphs 1-193 above are incorporated by reference as if

  fully set forth herein.

          195.    The AMS Accused Products constitute a material part of the invention recited in

  at least claim 1 of the ’844 Patent.

          196.    By virtue of their dealings with JJL, the AMS Defendants know the AMS

  Accused Products to be especially made or especially adapted for use in an infringement of at

  least claim 1 of the ’844 Patent, and not a staple article or commodity of commerce suitable for

  substantial noninfringing use.

          197.    By making and/or selling the AMS Accused Products for inclusion in the

  Samsung Accused Products, the Huawei Accused Products, and the ZTE Accused Products, the

  AMS Defendants, directly or through intermediaries, have been and now are purposefully and

  voluntarily placing the AMS Accused Products into the stream of commerce with the expectation

  that they will be purchased by consumers in this District.

          198.    For these reasons, the AMS Defendants have been and now are actively

  contributing to infringement of at least claim 1 of the ’844 Patent in violation of 35 U.S.C.

  § 271(c).

          199.    On information and belief, the AMS Defendants’ infringement of the ’844 Patent

  has been and now is willful.

                                      IX. VICARIOUS LIABILITY

          200.    The allegations of paragraphs 1-199 above are incorporated by reference as if

  fully set forth herein.




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          201.    In addition to liability for its own independent conduct, each Defendant is also

  liable for the conduct of its subsidiaries, affiliates, and related entities under the doctrines of alter

  ego and single business enterprise, and under applicable state and federal statutes and

  regulations.

                                      X. NOTICE AND MARKING

          202.    The allegations of paragraphs 1-201 above are incorporated by reference as if

  fully set forth herein.

          203.    At all times, each and every patentee of the Asserted Patents, and each and every

  person making, offering for sale, or selling within the United States, or importing into the United

  States, any patented article for or under any of them, has complied with the marking

  requirements set forth in 35 U.S.C. § 287.

          204.    At least by filing and serving the Original Complaint for Patent Infringement in

  this action, 511 Innovations has given each Defendant written notice of its infringement.

                                               XI. DAMAGES

          205.    The allegations of paragraphs 1-204 above are incorporated by reference as if

  fully set forth herein.

          206.    For the above-described infringement, 511 Innovations has been injured and seeks

  damages to adequately compensate it for each Defendant’s infringement of the Asserted Patents.

  Such damages, to be proved at trial, should be no less than the amount of a reasonable royalty

  under 35 U.S.C. § 284.

                                      XII. PRAYER FOR RELIEF

          511 Innovations respectfully requests the following relief:




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          a.      A judgment in favor of 511 Innovations that each Defendant has infringed each of

  the Asserted Patents, whether literally or under the doctrine of equivalents, as described herein;

          b.      A permanent injunction enjoining each Defendant, its respective officers,

  directors, agents, subsidiaries, employees, successors, and assigns, and all persons acting in

  privity, concert, or participation with it, from making, using, selling, or offering for sale in the

  United States, or importing into the United States, any and all products and services embodying

  the inventions claimed in the Asserted Patents;

          c.      A judgment and order requiring each Defendant to pay 511 Innovations its

  damages, costs, expenses, and pre-judgment and post-judgment interest for each Defendant’s

  infringement of the Asserted Patents as provided under 35 U.S.C. § 284, including supplemental

  damages for any continuing post-verdict or post-judgment infringement with an accounting as

  needed;

          d.      A judgment in favor of 511 Innovations that the AMS Defendants’ infringement

  of the Asserted Patents was and is willful;

          e.      A judgment and order requiring the AMS Defendants to pay 511 Innovations

  treble damages for the AMS Defendants’ willful infringement of the Asserted Patents as

  provided under 35 U.S.C. § 284; and

          f.      Such other and further relief as the Court deems just and proper.

                                           XIII. JURY DEMAND

          Pursuant to Federal Rule of Civil Procedure 38(b), 511 Innovations requests a jury trial of

  all issues triable of right by a jury.




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  Dated: January 12, 2016                           Respectfully Submitted,

                                                    By: /s/ William E. Davis, III
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                                                    Counsel for Plaintiff 511 Innovations, Inc.


                                      CERTIFICATE OF SERVICE

          The undersigned certifies that the foregoing document and all attachments thereto are
  being filed electronically in compliance with Local Rule CV-5(a). As such, this document is
  being served on all counsel who are deemed to have consented to electronic service. L.R. CV-
  5(a)(3)(A). Pursuant to Federal Rule of Civil Procedure 5(d) and Local Rule CV-5(d) and (e),
  any counsel of record not deemed to have consented to electronic service are being served with a
  true and correct copy of the foregoing by email on this 11th day of January 2016.

                                                    /s/ William E. Davis, III
                                                    William E. Davis, III




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